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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
AMERICAN LECITHIN COMPANY,
LIPOID GmbH, LIPOID LLC, and
PHOSPHOLIPID GmbH,
                                    Plaintiffs,               Case No. 12-cv-00929-VSB-KNF

-against-                                                     NOTICE OF MOTION BY THIRD-
                                                              PARTY DEFENDANT HERBERT
                                                              REBMANN FOR PARTIAL
CARSTEN MATTHIAS REBMANN,                                     SUMMARY JUDGMENT
                    Defendant, Counterclaim
                    and Third-Party
                    Plaintiff,
-against-

HERBERT REBMANN, LIPOID STIFTUNG,
LIPOID BETEILIGUNGS GmbH,
LIPOID VERWALTUNGS AG,
LIPOID GRUNDSTUECKS GmbH, and
PHOSPHOLIPID FORSCHUNGSZENTRUM e.V.,

                                    Third-Party Defendants.
------------------------------------------------------x


        PLEASE TAKE NOTICE that, upon the Amended Complaint, dated April 9, 2012, the

Second Amended Answer, Counterclaims and Third-Party Claims, dated May 15, 2015, the

Answer to First Counterclaim and Ninth and Eleventh Third-Party Claims, dated May 25, 2018,

the Affidavits of Defendant Carsten Matthias Rebmann, dated October 18, 2013, and October 9,

2015, the exhibits to those Affidavits, all previously filed in this action, the accompanying

Declaration of Herbert Rebmann, executed March 1, 2019, the accompanying Statement

Pursuant to Local Rule 56.1, the accompanying memorandum of law, and all prior pleadings,

papers and proceedings heretofore had herein, the undersigned hereby moves this Court before

the Honorable Vernon S. Broderick, U.S.D.J., in Courtroom 518 at the United States District


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Courthouse, 40 Foley Square, New York, New York 10007 for an order (a) pursuant to Fed. R.

Civ. P. 56 granting Summary Judgment to Third-Party Defendant Herbert Rebmann on

Defendant/Third-Party Plaintiff’s Ninth Third-Party Claim for Conversion, and (b) granting such

other and further relief as to the Court seems just and proper.


Dated: March 1, 2019
                                                              Respectfully submitted,


                                                              ________________________
                                                              Gregory F. Hauser
                                                              WUERSCH & GERING LLP
                                                              100 Wall Street, 10th Floor
                                                              New York, New York 10005
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                                                              Third-Party Defendant Herbert
                                                              Rebmann



To:    Samuel Goldman, Esq.
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       Attorneys for Defendant and Third-Party Plaintiff




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                                  CERTIFICATE OF SERVICE

                I am an attorney at Wuersch & Gering LLP, counsel for the Third-Party

Defendants, in the above-captioned proceeding. I hereby certify that on March 1, 2019, I caused

the foregoing Notice of Motion for Partial Summary Judgment to be served electronically via

the United States District Court, Southern District of New York Court’s ECF system upon those

parties entitled to receive electronic notice.



                                       _________________________
                                            Gregory F. Hauser




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